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                       United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-1177                                                   September Term, 2023
                                                                            EPA-88FR44468
                                                      Filed On: August 15, 2024 [2070289]
Center for Biological Diversity,

                   Petitioner

         v.

Environmental Protection Agency, et al.,

                   Respondents

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American Petroleum Institute, et al.,
                   Intervenors
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Consolidated with 23-1240, 23-1243,
23-1246, 23-1247, 23-1249

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be scheduled for oral
argument on November 1, 2024, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site at
www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                     BY:    /s/
                                                            Michael C. McGrail
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
